Case: 1:17-md-02804-DAP Doc #: 2300-9 Filed: 08/14/19 1 of 3. PageID #: 362962




                      PSJ15 Exh 58
Scioto County Physician Pleads Guilty to Role in Pill Mill | USAO-SDOH | Department o... Page 1 of 2
    Case: 1:17-md-02804-DAP Doc #: 2300-9 Filed: 08/14/19 2 of 3. PageID #: 362963




     U.S. Attorneys » Southern District of Ohio » News

                                         Department of Justice

                                          U.S. Attorney’s Office

                                        Southern District of Ohio


     FOR IMMEDIATE RELEASE                                                      Friday, April 7, 2017


       Scioto County Physician Pleads Guilty to Role in Pill Mill
     CINCINNATI – Margaret Temponeras, 52, of Portsmouth, Ohio, pleaded guilty in U.S.
     District Court to conspiracy to distribute a controlled substance, which she did through a pain
     clinic and dispensary.

     Benjamin C. Glassman, United States Attorney for the Southern District of Ohio, Timothy J.
     Plancon, Special Agent in Charge, Drug Enforcement Administration (DEA), Angela L.
     Byers, Special Agent in Charge, Federal Bureau of Investigation (FBI), Cincinnati Field
     Division, Steven W. Schierholt, Executive Director, Ohio State Board of Pharmacy, and the
     Ohio High Intensity Drug Trafficking Area (HIDTA) announced the plea entered into today
     before U.S. District Judge Timothy S. Black.

     According to the Statement of Facts in this case, Temponeras owned and was the physician at
     Unique Pain Management in Wheelersburg, Ohio. Her father, John Temponeras, 82, was also
     a physician at the clinic.

     From June 2005 until May 2011, Temponeras and her father saw more than 20 patients per
     day, who paid cash payments starting at $200 for each medical examination. Many patients
     received monthly prescriptions for similar combinations of medications – namely, 120-150
     pills of 15mg Oxycodone, 120-150 pills of 30mg Oxycodone and 90 pills of 2mg Xanax.

     Patients were referred to Raymond Fankell, 62, of Wheelersburg, Ohio, who owned Prime
     Pharmacy, to fill their prescriptions.

     Temponeras became aware that some pharmacies in the Scioto County area had declined to
     accept or fill her prescriptions from Unique Pain Management so she opened the dispensary
     Unique Relief LLC from the same location as her clinic in order to fill her own prescriptions.




https://www.justice.gov/usao-sdoh/pr/scioto-county-physician-pleads-guilty-role-pill-mill      7/30/2019
Scioto County Physician Pleads Guilty to Role in Pill Mill | USAO-SDOH | Department o... Page 2 of 2
    Case: 1:17-md-02804-DAP Doc #: 2300-9 Filed: 08/14/19 3 of 3. PageID #: 362964



     Temponeras and Fankell have each pleaded guilty to one count of conspiracy to distribute a
     controlled substance, which is a crime punishable by up to 20 years in prison. John
     Temponeras pleaded guilty to one count of conspiracy to distribute Oxycodone, which carries
     the same potential maximum sentence.

     U.S. Attorney Glassman commended the investigation of this case by the DEA, FBI, Ohio
     State Board of Pharmacy, and Ohio HIDTA, as well as Assistant United States Attorneys
     Timothy D. Oakley and Timothy S. Mangan, who are representing the United States in this
     case.

                                                 ###

     Topic(s):
     Prescription Drugs

     Component(s):
     USAO - Ohio, Southern

                                                                                  Updated April 7, 2017




https://www.justice.gov/usao-sdoh/pr/scioto-county-physician-pleads-guilty-role-pill-mill       7/30/2019
